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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                    )
                                            )
               v.                           ) Criminal No. 02-10261-RWZ
                                            )
                                            )
CHEPIEL SANCHEZ                             )


GOVERNMENT’S MEMORANDUM RE: BLAKELY ISSUES RAISED DURING THE
             OCTOBER 28, 2004 STATUS CONFERENCE

                                   INTRODUCTION

       On September 12, 2002, a grand jury in this district

returned a ten-count indictment against Chepiel Sanchez and

two compatriots.1          The grand jury alleged that Sanchez and

his co-defendants had each conspired to distribute at least

100 grams of heroin and that Sanchez had distributed (or

aided and abetted the distribution of)                     heroin on nine

separate dates.2          Sanchez was named in (and ultimately pled

guilty to) each and every one of the 10 drug charges brought

against him.




       1
           Michael Reyes and Jason Anderson.
       2
          The only instance in which Sanchez merely aided and abetted the distribution of
heroin took place on May 17, 2002. See Indictment, Count 9. On that date, the CW
called Sanchez and requested heroin. Sanchez told the CW to go to his house and that he
would send “Mike.” In fact, “Mike” was co-defendant Michael Reyes. Reyes stated on
tape that he worked for Sanchez and proceeded to sell the CW 40 grams of Sanchez’
heroin. See PSR, ¶¶50-56. No objections were raised to these facts as alleged in the
Offense Conduct section of the PSR.
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       The indictment resulted from a lengthy investigation of

drug trafficking and other criminal activities by members

and associates of the Immortal Outlaw Street Gang (“the

Outlaws”) of Lawrence, Massachusetts.3                    Sanchez was alleged

to be one of the leaders of the Outlaws and one of its most

active drug traffickers.              PSR, ¶8.

       Between February 21, 2002 and September 10, 2002, a

cooperating witness working for the FBI (“the CW”) made 9

controlled purchases of heroin from Sanchez or his co-

defendants.4 PSR at ¶¶7-8.                 More heroin, firearms,

ammunition, and drug processing equipment were also seized

from Sanchez’ home on September 13, 2002 pursuant to a

search warrant issued by this Court. PSR, ¶¶69-70.                           In all,



       3
          At Sanchez’ Rule 11 hearing, the government described what the evidnce would
show regarding Sanchez’ involvement (and use of) his co-defendants in his heroin
trafficking. That evidence included statements by Reyes recorded on May 17, 2002 that
he worked for Sanchez and that Sanchez paid him for that work. PSR, ¶54. Those
statements were made after the CW spoke to Sanchez, was told to go to Sanchez’ house
to do the deal, and then met Michael Reyes. Plea Tr. At 22. Sanchez admitted that he
had a phone conversation with the CW on that date, that Reyes went to Sanchez’ house,
and that he was involved in selling heroin with others. Id. at 25, 30.
       4
          All of the drug purchases (which were of amounts between 2 and 40 grams of
heroin and also included another sale of ecstasy) were made in Haverhill at Sanchez’
house. All of the purchases (and most of the conversations and negotiations leading up to
the purchases) were consensually recorded. The CW also wore transmitters during most
of the purchases. As set forth below, much of the drug weight in the case is based on
admissions made by Sanchez during recorded conversations about the scope of his drug
trafficking. PSR, ¶¶2-5


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more than 200 grams of heroin were either purchased or

seized from Sanchez.             PSR, ¶86.

       At sentencing, the government established that these

sales and seizures were only a small part of Sanchez’

trafficking.         Throughout the investigation, Sanchez made

striking admissions on tape about the scope of his drug

trafficking which involved kilogram levels of heroin and

drug debts well in excess of $100,000.5                      In addition,

Sanchez made other sales not included in the indictment.

PSR, ¶¶61-68.            All of this information was buttressed by

reams of historical data from various sources confirming

Sanchez’ role as a leading supplier of heroin in the

Lawrence/Haverhill area and fully justified the PSR’s

conclusion that Sanchez was responsible for 3-10 kilograms

of heroin.        PSR, ¶¶72-79.         The government also asked the

court to confirm the adjustments made in the PSR against

Sanchez for role (4 levels) and for the guns he had (2

levels).       Sanchez PSR at ¶¶86, (drug weight), 87 (firearm

enhancement), and 88 (role in the offense).


       5
         See, e.g., PSR, ¶¶30 (Sanchez boasts that once the CW’s customers start using
heroin they would come back for more); 40 (Sanchez warns CW about how easy it is to
get hooked when bagging heroin and bragged that he had made a associate who he
suspected of cooperating with the police strip at gunpoint); 45 (Sanchez brags that he has
made 100's of thousands, talks about how to structure payments, and says he makes 1-3
thousand dollars per week in profits).

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     The matter originally came on for sentencing on June

13, 2003.   Although the defendant made general objections to

the drug weight and role determinations contained in his

PSR, he contested few the underlying operative facts. See

PSR, Addendum at pages 41-42 (defendant only asserted 3

objections including objections to inclusion of drugs he

alleged were not relevant conduct and to determination that

Sanchez’ organization included 5 or more people or was

otherwise extensive).     Among other things, Sanchez admitted

that drugs and firearms were seized from his house at

arrest, admitted that he was subject to at least a two-point

role enhancement, and acknowledged recorded statements

attributed to him concerning his drug debts, the tutorial he

gave to the CW regarding heroin trafficking, and his abject

indifference to the possible overdose of his customers.         He

also never questioned the ability of this Court to adjust

his offense level even though there were no role, firearm,

or drug weight allegations beyond 100 grams of heroin in the

indictment.   Based on the remarkable record before it (which

included recorded statements by the defendant that “if [his

heroin] kills ‘em [his customers], it kills ‘em, fuck ‘em,”

see Sentencing Exhibit 9, the Court sentenced Sanchez to 210

months in prison. Sentencing Tr at 27.       This represented the


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low end of what the Court concluded was Sanchez’ guideline

range.6 Id. at 26.

       Sanchez thereafter appealed his sentence.                     His

principal argument on appeal was that the PSR has

incorrectly attributed a significant component of the drug

weight allegations to a witness who had testified before the

grand jury rather than to another source. The only relief

that the defendant originally sought in the First Circuit

was an order directing the district court to exclude the two

kilograms of heroin from its drug calculations.

       Although that issue was pointed out to Court by defense

counsel at sentencing before the Court made its drug weight

computations, see Sentencing Tr. at 5, statements made by

the Court at the conclusion of the Sentencing Hearing

suggested that it may not have appreciated the significance

the defendant attributed to this claim.                    Given the length of

Sanchez’ sentence and the possibility that the Court may

have misunderstood the extent of the grand jury testimony

attached to the government’s Sentencing Memorandum, the


       6
            The Court concluded that Sanchez was responsible for between 3 and 10
kilograms of heroin and that he should be assessed a 3 level role enhancement and a 2
level firearm enhancement. This produced an adjusted offense level of 34 which, when
combined with Sanchez’ CHC of IV, resulted in a guideline range of 210-262 months,
well within the applicable 40-year statutory maximum on the conspiracy count alone.
See Sentencing Tr. June 13, 2003 at 26-27.

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government requested remand to enable the Court to ensure

that the Court believed its sentence was the correct one.7

       The government requested that the case be remanded on

December 5, 2003.            Inexplicably,          the case was not returned

to the district court for nearly nine months.

       In the interim, of course, the United States Supreme

Court decided Blakely v. Washington, 124 S.Ct 2531 (2004).

Several weeks later, the defendant moved to remand in order

to assert a claim (for the first time) that the Court’s

sentence was unconstitutional because it exceeded the

applicable “statutory maximum.”

       On September 17, 2004 the First Circuit remanded the

case to this Court.             The mandate specifically stated that:

“Our remand is without prejudice to any argument appellant

may wish to advance in the district court pursuant to

Blakely v. Washington, 124 S. Ct. 2531 (2004). We take no

position at this time on whether Blakely applies to

appellant.

                                  ISSUES PRESENTED

       The principal issue presented by resentencing is the

effect of Blakely v. Washington in the particular


       7
          As set forth above, the defendant’s initial brief in the First Circuit made no
claim that his constitutional rights had been violated by the 210 month sentence.

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circumstances of this case.     Notwithstanding that Sanchez:

(i) admitted his involvement with Reyes (who had stated that

he worked for Sanchez); (ii) never objected to the

appropriateness of the firearm enhancement or some role

enhancement (either to Probation or at sentencing), and

failed to contest the appropriateness of these enhancements

on appeal (in which his only argument was that the Court

improperly attributed two kilograms of heroin to Velasquez

rather than another source), he claims that Blakely has

transformed his “statutory maximum” from 40 years to 87

months and that this is the highest sentence the Court can

impose.   See Blakely, 124 S.Ct at 2537 (Our precedents make

clear, however, that the "statutory maximum" for Apprendi

purposes is the maximum sentence a judge may impose solely

on the basis of the facts reflected in the jury verdict or

admitted by the defendant”).

     Sanchez is wrong.    Although the government understands

that this Court has previously concluded that Blakely

applies to the Federal Sentencing Guidelines and does not

render them unconstitutional, it respectfully requests that

the Court reconsider its severability ruling for the reasons

generally set forth in United States v. Mueffleman, 327

F.Supp.2d 79 (D. Mass. 2004).        If Blakely applies to the

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Federal Sentencing Guidelines,8 the government believes that

this renders the Guidelines unconstitutional in this case

and requires the Court to sentence the defendant under

indeterminate pre-guideline principles.                         See United States

v. Croxford, 324 F.Supp.2d 1230, 1245 (D.Utah 2004) (court

recognized the fundamental unfairness to the government

inherent in the position taken by the Court here, that is,

the adoption of the claim by defendants’ that “what's mine

is mine, what's yours is negotiable.").                         See also United



       8
         The government has found no better defense of the Federal Sentencing
guidelines post-Blakely than that offered by Judge Hinkle in United States v. McKinney,
2004 WL 2315775, *11 (N.D. Fla 2004):

           Since the very first days of indeterminate sentencing, judges have taken into
       account, in choosing a sentence, information not established by a jury's verdict
       nor admitted by the defendant. The Blakely majority acknowledged this, at least
       to some extent, and nobody who has participated in the federal sentencing process
       reasonably could deny it. The advent of sentencing guidelines thus diminished the
       jury's role not a whit; under guidelines schemes, as before, the jury determines
       guilt or innocence, and additional facts may be considered in determining the
       sentence.

          Sentencing guidelines did, however, reallocate the decision making authority
       as between the judge and the legislative branch, limiting the discretion of the
       former, and giving greater sway to policy decisions of the latter. One can argue
       the wisdom of guidelines sentencing in general or of the specific decisions
       incorporated into the existing federal guidelines in particular, but it is hard to find
       support for the proposition that the Constitution requires the legislature to cede
       policy making authority in this arena to judges. It is harder still to argue that this
       must be done in the name of preserving the role of the jury.

(emphasis and supporting authorities omitted). The government respectfully objects to
any determination by the Court that Blakely applies to the Sentencing Guidelines pending
the Supreme Court’s decision in Fanfan and Booker.

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States v. Einstman, 2004 U.S. Dist Lexis 13166 (S.D.N.Y.

2004) (McMahon) (in upholding government’s Blakely

severability argument, court stated that sentences imposed

with no upward enhancements “make a mockery of the real

(“not relevant”) statutory maxima that have been set by the

Legislative Branch and effectively eviscerate Congress’s

expressed intention that, to use this case as an example, a

schemer who defrauds his employer be eligible for as much as

five years in prison”).

     Assuming that the Court chooses not to reconsider its

previously expressed Blakely views, it nevertheless must

reject the defendant’s argument that the applicable

“statutory maximum” is now 87 months.      That argument ignores

that the defendant pled guilty to 10 drug trafficking

charges and that the resulting “statutory maximums” (however

they are calculated under Blakely) must be aggregated

through consecutive sentences to achieve the applicable

“total punishment.” See U.S.S.G. § 5G1.2(d).        In the

alternative, the government suggests that the appropriate

remedy in this case is to convene a sentencing jury and give

the defendant the remedies he claims that he was denied.

Finally, even if the court rejects every other argument that

the government has made, it should conclude that the

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applicable statutory maximum is 115 months based on the

facts the defendant admitted at his plea.

     1. Even if this court applies Blakey to the guidelines,
it is obligated to impose consecutive sentences to achieve
the total punishment in this case


     As perplexing as Blakely may for sentencing in many

federal criminal cases, it simply does not drive the

decision here.   Because Sanchez plead guilty to 10 separate

drug offenses,   this Court is required to run those

sentences consecutively to avoid exceeding the “statutory

maximum” (however that term may be construed) as to any

particular count if the Guidelines remain constitutional.

Again, assuming that Blakely      applies to the Guidelines in

exactly the manner that Sanchez claims, the Court still is

required to impose the same 210 month total sentence by

running the defendant’s sentences consecutively on as many

of his ten counts of conviction as is required to achieve

the correct guideline result.         See U.S.S.G. § 5G1.2(d) (“if

the sentence imposed on the count carrying the highest

statutory maximum is less than the total punishment, then




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the sentence imposed on one or more of the other counts

shall run consecutively...”).9

       The Sixth Amendment guarantees criminal defendants

certain procedural rights in “criminal prosecutions,” such

as the right to counsel, the right to a jury trial, and the

right to a speedy and public trial.                    U.S. Const., amend. VI.

These rights only arise upon the initiation of adversary

judicial proceedings against an individual, and are “offense

specific” — that is, tied to a particular charge of criminal

conduct brought against a defendant.                    The Supreme Court has

held that the Sixth Amendment right to counsel “cannot be

invoked once for all future prosecutions, for it does not

attach until a prosecution is commenced,” and hence the

Sixth Amendment does not preclude government agents from

speaking with a criminal defendant with respect to offenses

with which he is not presently charged.                      McNeil v.

Washington, 501 U.S. 171, 175 (1991); Texas v. Cobb, 532

U.S. 162, 168 (2001) (re-affirming that Sixth Amendment




       9
          Obviously, the correctness of the 210 month sentence previously imposed
assumes that the Court confirms its prior drug weight determinations notwithstanding the
attribution issue regarding the two kilos of heroin previously associated with Velasquez.
It should, given all of the corroborative evidence regarding the scope of Sanchez’
trafficking.

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right to counsel is offense specific, with no “exception for

crimes that are ‘factually related’ to a charged offense”).

     In the wake of Apprendi, nearly every circuit court of

appeals has held that a criminal defendant’s Sixth Amendment

right to jury trial is likewise “offense specific,” in that

it relates to individual counts of charged criminal conduct.

As a result, they have concluded that under the Sixth

Amendment, a district court can and should run sentences on

multiple counts consecutively to achieve the total

punishment dictated by the Guidelines, so long as the

sentence on any individual count does not exceed the

statutory maximum for that count.

     The First Circuit applied section 5G1.2(d) against an

Apprendi challenge in United States v. Saccoccia,         2002 WL

1734169 (1st Cir. 2002).    In Saccoccia, the defendant was

sentenced to 660 years in prison following his conviction on

money laundering and other charges relating to his

leadership of a large drug organization.       To achieve that

sentence, the district court imposed consecutive sentences.

On collateral review, the First Circuit rejected the claim

that the stacking of the counts of conviction to achieve the

total sentence violated Apprendi. Id. at 4.         (“Apprendi



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poses no bar... to the imposition of consecutive sentences

under § 5G1.2(d), even when ‘the total punishment exceeds

the highest statutory maximum on any particular count.’").

      The Second Circuit reached the same result in United

States v. White, 240 F.3d 127, 135-36 (2nd Cir. 2001).

There, the district court also sentenced a defendant to the

statutory maximum on each of multiple counts of drug

offenses, and ran those sentences consecutively to the

extent necessary to reach the total punishment dictated by

the Guidelines. The Second Circuit also affirmed against an

Apprendi attack, holding that Apprendi principles were not

violated because: “the district court did not exceed the

maximum for any individual count.      It cannot therefore be

said that, as to any individual count, the court’s findings

resulted in the imposition of a greater punishment than was

authorized by the jury’s verdict.” Id. at 135.        In reaching

this conclusion, the    Court also noted that, “perhaps more

important, we are aware of no constitutionally cognizable

right to concurrent, rather than consecutive, sentences.”

Id.   In essence, the Court of Appeals rejected the notion

that “use of section 5G1.2(d) of the Sentencing Guidelines

to run [a defendant’s] sentences consecutively rather than

concurrently ‘effectively increased the penalty to which


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[that defendant] was subject’” for purposes of Apprendi.

Id.    See also United States v. McLean, 287 F.3d 127 (2d Cir.

2002) (declining to remand or modify judgment where

defendant failed to preserve Apprendi claim that sentence on

each individual count exceed statutory maximum, because

total effective sentence could have been imposed by running

shorter sentences on each count consecutively); United

States v. Blount, 291 F.3d 201, 213-14 (2d Cir. 2002)

(same), cert. denied, 537 U.S. 1141 (2003).10                        See generally


       10
           Other cases reaching the same result include United States v. Stokes, 261 F.3d
496, 500-01 (4th Cir. 2001), cert. denied, 535 U.S. 990 (2002); United States v.
McWaine, 290 F.3d 269, 276 (5th Cir.), cert. denied, 537 U.S. 921 (2002); United States
v. Page, 232 F.3d 536, 544-45 (6th Cir. 2000); United States v. Hernandez, 330 F.3d 964,
982-84 (7th Cir. 2003), cert. denied, 124 S. Ct. 1599 (2004); United States v. Diaz, 296
F.3d 680, 683-85 (8th Cir.) (en banc), cert. denied, 537 U.S. 940 (2002); United States v.
Buckland, 289 F.3d 558, 570-71 (9th Cir.) (en banc), cert. denied, 535 U.S. 1105 (2002);
United States v. Lott, 310 F.3d 1231, 1242- 43 (10th Cir. 2002), cert. denied, 538 U.S.
936 (2003); United States v. Davis, 329 F.3d 1250, 1253-54 (11th Cir.), cert. denied, 124
S. Ct. 330 (2003); United States v. Lafayette, 337 F.3d 1043, 1050 (D.C. Cir. 2003).

        The Third Circuit has issued conflicting opinions as to whether stacking is
mandatory under U.S.S.G. §5G1.2(d). Compare United States v. Velasquez, 304 F.3d
237, 241 (3d Cir. 2002) (stacking of lower Apprendi sentences is within sentencing
court’s discretion; approving court’s decision not to stack sentences on substantive and
conspiracy counts), cert. denied, 538 U.S. 939 (2003) and United States v. Chorin, 322
F.3d 274, 278 (3rd Cir. 2003) (Apprendi is not implicated by the District Court's
imposition of consecutive sentences pursuant to U.S.S.G. § 5G1.2(d))
with United States v. Jenkins, 333 F.3d 151, 155 (3d Cir.) (stacking of lower Apprendi
sentences is mandatory, not citing Velasquez), cert. denied, 124 S. Ct. 350 (2003). This
conflict is not an issue here, because the 210-month sentence the court imposed can be
supported based on the distribution charges that Sanchez plead guilty to alone. See also
United States v. Kapev,199 F.3d 596 (2nd Cir. 1999)(per curiam)(rejecting claim that
imposition of offense for conspiracy and substantive counts was unconstitutional);
Garrett v. United States, 471 U.S. 773 (1985) (there is a presumption that, when
Congress creates two distinct offenses, it intends to permit cumulative sentences).

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Whalen v. United States, 445 U.S. 684, 688 (1980) (authority

to constitutionally impose multiple punishments is resolved

by determining what punishment the legislative branch has

authorized).

       Because Blakely is nothing more than an extension of

Apprendi’s principles,11 these cases would remain good law

even if Blakely is ultimately applied to the Federal

Sentencing Guidelines.              Hence, the only other step needed to

sentence the defendant on remand is to determine, under the

defendant’s own interpretation of Blakely, what the upper

end of the Guidelines range would be for each of his counts

of conviction; to aggregate those upper ends; and then to

determine whether such an aggregate statutory maximum

exceeds the total punishment called for by the Guidelines

based on the findings this Court has already made.                            See

United States v. Garcia-Torres, 341 F.3d 61, 74 (1st Cir.

2003) (“Like every other circuit that has considered the

issue, we have previously stated that the language of §

5G1.2(d)--indicating that sentences ‘shall run



       11
           E.g., In re Dean, 2004 WL 1534788, at *3 (11 Cir. July 9, 2004) ("Blakely... is
based on an extension of Apprendi ); Patterson v. United States,, 2004 WL 1615058, at
*4 n. 3 (E.D.Mich. July 2, 2004) ("Blakely is in fact an extension of the rule announced
in Apprendi v. New Jersey" ); United States v. Stoltz, 2004 WL 1619131, at *2 (D.Minn.
July 19, 2004) ("In Blakely, the Court extended its holding in Apprendi v. New Jersey.").

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consecutively’--is mandatory in order to achieve, to the

greatest extent possible, a combined sentence ‘equal to the

total punishment.’”).12

       Any application of these principles demonstrates that

the 210-month sentence originally entered in this case

should be reimposed.             As set forth above, Sanchez pled

guilty to 10 separate charges of drug trafficking.                            Nine of

those charges were simple distribution counts that,

accepting the defendant’s view of Blakely, carry a “total

statutory maximum” of 27 months.13 Hence, section 5G1.2(d)

of the Guidelines requires the imposition of consecutive

sentences in this case up to a maximum of 243 months based

on the distribution counts alone without violating the
                                                       14
defendant’s Apprendi/Blakely rights.                         E.g., United

States v. Saccoccia, 58 F.3d 754, 787 (1st Cir. 1995) (“the

court below possessed the power--indeed, the


       12
          Again, this conclusion assumes that the Court will confirm its prior drug
weight determinations notwithstanding the attribution issue on the 2 kilograms of heroin.
       13
          The indictment alleged that each of the distribution counts involved heroin, a
Schedule I controlled substance. Assuming that the defendant must be given credit for
acceptance of responsibility under these calculations and that his CHC is IV, see PSR at ¶
100, but see discussion at pp. 16-20, infra, the resulting guideline range is 21-27 months
for each count. See U.S.S.G. §2D1.1. Using the same principles to the conspiracy count
produces a total guideline range of 87 months just for it. Id.
       14
           Were the Court to conclude that the 2 kilograms of heroin was improperly
attributed to Sanchez, the resulting guideline range would be 135-168 months.

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responsibility--to impose a series of consecutive sentences

effectuating the clearly expressed command of U.S.S.G. §

5G1.2.”) (emphasis supplied).

     2. Blakely does not prohibit judicial fact finding so
long as the resulting sentence does not exceed the
“applicable statutory maximum”

       Even if the Court declines to apply U.S.S.G. §5G1.2(d)

in this case, the defendant’s calculation of his “statutory

maximum” is still wrong.     Because Blakely does not preclude

the Court from finding facts so long as the resulting

sentence falls within the applicable “statutory maximum,”

justified by the facts admitted by the defendant, the true

Blakely maximum based is in actuality 115 months even if the

defendant’s Blakely interpretation is otherwise correct.

       Consideration of this issue must also begin with

Apprendi.    It held that: “Other than the fact of a prior

conviction, any fact that increases the penalty for a crime

beyond the prescribed statutory maximum must be submitted to

a jury, and proved beyond a reasonable doubt." 430 U.S. at

490.    Subsequent cases have made clear that Apprendi is a

limitation on a particular result (i.e, the imposition of a

sentence that exceeds the prescribed statutory maximum)

rather than any sentencing procedures.       Thus, after



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Apprendi, courts remained free to engage in judicial

factfinding so long as the ultimate sentence did not exceed

the maximum sentence established by Congress.        E.g., United

States v. Caba, 248 F.3d 98, 101 (1st Cir. 2001) (“Apprendi

does not prohibit a sentencing court from making factual

findings that increase a defendant's sentence (including

findings as to drug type and quantity) as long as the

sentence imposed is within the default statutory maximum.”);

United States v. Downs-Moses, 329 F.3d 253, 262 (1st Cir.

2003) (when a sentence is less than the statutory maximum,

"Apprendi is irrelevant").

     At most, the holding in Blakely is nothing more that a
refinement (albeit a potentially important one) of

Apprendi’s concept of statutory maximums. See cases cited in

footnote 9.   Although Blakely used the Washington State

sentencing guideline scheme rather than the underlying

statute in determining the statutory maximum, it did not

declare the separate determination of the applicable
Washington State sentencing guideline range to be per se

unconstitutional.    Because it was the length of the sentence

that offended the Sixth Amendment in Blakely, that decision,

like Apprendi, is also not a constitutional proscription

against judicial factfinding so long as the “statutory

maximum” is not exceeded.




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     In Blakely, the Supreme Court addressed the Sixth

Amendment rights of a criminal defendant in the context of

various Washington state criminal statutes.        It held that:

“[T]he ‘statutory maximum’ for Apprendi purposes is the

maximum sentence a judge may impose solely on the basis of

the facts reflected in the jury verdict or admitted by the

defendant.”      Blakely v. Washington, 124 S. Ct. 2531, 2537

(2004).    The    Court further stated:   “[T]he relevant

‘statutory maximum’ is not the maximum sentence a judge may

impose after finding additional facts, but the maximum he

may impose without any additional findings.”        Id.

     In Blakely there was no finding by a jury.         The highest

sentence permitted under the Washington sentencing guideline

statutes based on admissions by the defendant was 53 months.

Id. at 2535.     Accordingly, the Supreme Court held that any

sentence above the 53-month statutory maximum violated the

defendant’s Sixth Amendment right to a jury trial.         Id. at

2536-38.   Conversely, any sentence below 53 months would

have been constitutional under Blakely even if it had been

the product of judicial factfinding.       See id. at 2540 (“By

reversing the judgment below, we are not, as the State would

have it, ‘find[ing] determinate sentencing schemes

unconstitutional.’”).     See also United States v. Jarrett,

334 F.Supp. 2d 810, 820 (W.D. Pa 2004) (court was not

precluded from making judicial findings so long as resulting

sentence did not exceed the high end of the guideline range

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for the Base Offense Level resulting from the facts admitted

to by the defendant); United States v. Johns,        2004 WL

2053275, *6 (M.D.Pa. 2004) (Once the Blakely statutory

maximum is established, a sentencing court may apply the

guidelines “as they were intended as long as [the resulting

sentence] does not exceed the ‘statutory maximum,’").

     Application of these principles here demonstrate that

the statutory maximum in this case is in fact substantially

higher than the 87 months alleged by the defendant.         In the

plea colloquy, the defendant admitted that he was

responsible for distributing at least 100 grams of heroin.

Plea Tr. At 31.   Based on the defendant’s CHC of IV, this

means that, by pleading guilty to the conspiracy charged in

the indictment, the defendant faced a maximum unenhanced

guideline sentence of 115 months.      See Sentencing
Guidelines, Part V (Sentencing Table) for Level 26, CHC IV.

     Any argument that this statutory maximum must be

reduced to reflect a 3-level reduction for acceptance of

responsibility should be rejected.      By pleading guilty, a

defendant is not automatically entitled to a any reduction

for acceptance of responsibility. See U.S.S.G. §3E1.1,

Application note 3 (“A defendant who enters a guilty plea is

not entitled to a sentencing reduction under this section as

a matter of right.”).    See also United States v.



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Ocasio-Rivera, 991 F.2d 1,4 (1st Cir.1993) (“The ultimate

question under section 3E1.1 is not whether the defendant

has uttered 'a pat recital of the vocabulary of contrition,'

but whether he has accepted full responsibility for his part

in the offense of conviction by demonstrating 'candor and

authentic remorse.' "); United States v. Austin, 948 F.2d

783, 787 (1st Cir. 1991)(affirming denial of acceptance

despite guilty plea).             Because the reduction also cannot be

granted until the time of sentencing and until the defendant

affirmatively shows he is entitled to it, the Blakely

statutory maximum cannot take acceptance of responsibility

into account.         See United States v. Morillo, 8 F.3d 864, 865

(1st Cir.1993) (defendant bears the burden of proving

entitlement to decreases in the offense level, including

downward adjustments for acceptance of responsibility).15


       15
           Any argument that acceptance was not an issue in this case based on the timing
of the plea ignores the fact that there was no guarantees made at the plea colloquy
regarding any acceptance of responsibility deduction and that there could not have been
given the many issues that could arise between the plea and sentencing that could affect
the defendant’s ability to prove that he had accepted responsibility for his crimes. E.g.,
United States v. Olvera, 954 F.2d 788, 793 (2d Cir. 1992) (refusing to award acceptance
of responsibility based on smuggling marijuana into jail while awaiting sentencing);
United States v. Reed, 951 F.2d 97, 99-100 (6thCir. 1991) (refusing to award acceptance
of responsibility based on continued credit card fraud while in jail awaiting sentencing);
United States v. Cross, 900 F.2d 66, 70 (6th Cir. 1990) (refusing to award acceptance of
responsibility based on defendant’s refusal to provide financial information); U.S. v. De
Felippis, 950 F.2d 444, 447 (7th Cir. 1991) (refusing to award acceptance of
responsibility based on false information given to a probation officer). The decided cases
also make clear that Blakely does not apply to guideline reductions. E.g., United States

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     3. If there has been a Blakely violation, the
government is entitled to a sentencing jury if the
Guidelines are in fact severable


       Even if the Court rejects all of the foregoing, the

defendant is still not entitled to the windfall he seeks at

least until a sentencing jury concurs.                   Such a jury would be

fully able to provide Sanchez with his full panoply of Sixth

Amendment rights while at the same time enabling the Court

to effect Congress’s determination that violent drug

traffickers receive appropriate sentences.                     See Blakely at

*7 (“This case is not about whether determinate sentencing

is constitutional, only about how it can be implemented in a

way that respects the Sixth Amendment.").                    See generally

United States v. DiFrancesco, 449 U.S. 117, 135 (1980) (“The

Constitution does not require that sentencing should be a

game in which a wrong move by the judge means immunity for

the prisoner.").

       Undoubtedly, the defendant will claim that the Court

cannot convene a sentencing jury in this case because it is




v. Giluardo-Parra, 2004 WL 2369936, *5 (D.Utah. October 20, 2004) (“Blakely does not
apply to credit for acceptance of responsibility because nothing prevents a judge from
making factual determinations about the applicability of reductions in sentences”).




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not authorized to do so.               Expected arguments include:

(i) that sentencing juries are generally unlawful because

they are not authorized by statute or other rule; and (ii)

that a sentencing jury could not in any event be convened in

this case because the government did not allege the firearm,

role and drug weight over 100 grams o heroin in the

indictment.

       Any effort to avoid a sentencing jury based on the

government’s failure to allege the enhancement issues in the

indictment must be rejected.                 Blakely is a Sixth Amendment

case concerned with protecting a defendant’s right to a jury

trial.      Because in federal cases, jury trial rights are

distinct from a defendant’s Fifth Amendment right to be

indicted by a grand jury, there is simply no reason to

assume that the right to have guideline issues in federal

cases decided by a jury beyond a reasonable doubt is

conterminous with the Fifth Amendment’s requirement that a

case proceed by way of indictment as to each and every such

factor.16


       16
           The Indictment Clause of the Fifth Amendment serves two functions. It first
acts as a check on prosecutorial power by entitling "a defendant to be in jeopardy only
for offenses charged by a group of his fellow citizens acting independently of either the
prosecutor or the judge." United States v. Field, 875 F.2d 130, 133 (7th Cir. 1989) (citing
Stirone v. United States, 361 U.S. 212, 217-19 (1960)). See also United States v. Cotton,
122 S.Ct. 1781, 1786 (2002). It also “entitles a defendant to be apprized of the charges

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       The appropriateness of convening a sentencing jury for

so called “Blakely” facts (i.e., facts which permit the

imposition of a higher sentence under the guideline regime

with its many gradations) as opposed to “Apprendi” facts

(only those few facts that increase a sentence beyond the

maximum specified for the crime by the Legislature) is also

consistent with the case law and common sense if the

Guidelines are severable.                On the one hand, Apprendi                made

clear that the Constitution required only facts necessary to

define the crime (i.e, the maximum punishment permitted by

statute) be included in the indictment and proven to the

jury at trial beyond a reasonable doubt.                        Apprendi, 530 U.S.

at 483n. 10 (“The judge's role in sentencing is constrained

at its outer limits by the facts alleged in the indictment

and found by the jury. Put simply, facts that expose a

defendant to a punishment greater than that otherwise

legally prescribed were by definition "elements" of a

separate legal offense.”).                 By contrast, nothing in the



against him, so that he knows what he must meet at trial." Field, 875 F.2d at 133. See
also Apprendi, 530 U.S. at 478 ("The defendant's ability to predict with certainty the
judgment from the face of the felony indictment flowed from the invariable linkage of
punishment with crime."). "[A]n indictment is sufficient if it, first, contains the elements
of the offense charged and fairly informs a defendant of the charge against which he must
defend, and, second, enables him to plead an acquittal or conviction in bar of future
prosecutions for the same offense." Hamling v. United States, 418 U.S. 87, 117 (1974).


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majority opinion in Blakely contains a similar

requirement.17          Because Blakely itself does not encompass

the indictment clause, a sentencing jury is appropriate.

Compare also Harris v. United States, 122 S. Ct. 2406, 2417-

18 (2002) (a crime has not been properly alleged "unless the

indictment and the jury verdict include all the facts to

which the legislature [has] attached the maximum

punishment").

       The absence of any indictment requirement is also

consistent with current federal practice and the requirement

that Presentence Reports timely notify the defendant of the

specific facts on which his sentencing is likely to depend.

See 18 U.S.C. § 3552; Federal Rule of Criminal Procedure 32.

See also Russell v. United States, 369 U.S. 749, (1962)

(principal issue in judging the sufficiency of an indictment

is whether the indictment adequately alleges the elements of

the offense and fairly informs the defendant of the charge);

discussion at footnote 4, supra. Under Federal Rule of

Criminal Procedure 32(d), the United States Probation Office


       17
           Although Justice O’Connor’s dissent in Blakely assumed that an indictment is
required in all guideline cases, that assumption is not based on anything in the majority
opinion of the court. See Blakely 124 S.Ct. at 2543 (dissenting opinion of Justice
O’Connor’s stating that “facts that historically have been taken into account by
sentencing judges to assess a sentence within a broad range--such as drug quantity, role
in the offense, risk of bodily harm--all must now be charged in an indictment...”).

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is required to prepare a detailed Presentence Report (“PSR”)

in every case which, among other things, calculates the

defendant’s offense level, his criminal history category,

and the resulting sentencing guideline range.                          Id.    Because

Rule 32(f) also requires the PSR to be disclosed

sufficiently before sentencing to enable the defendant to

object, the PSR fulfills any constitutional notice

requirement, thereby demonstrating that an indictment is not

otherwise required.18 See United States v. Harris, 332

F.Supp. 2d 692, 704 (D.N.J. 2004) (Government’s Notice of

Additional Sentencing Factors satisfied Blakely’s

requirement for reasonable written notice of the charges,

particularly where there was no surprise to the defendant).

       The second argument that has been made to courts

considering this issue is that the absence of any statutory

provision specifically authorizing a sentencing jury.

Although this issue prompted both the Croxford and Shamblin

courts to conclude that a sentencing jury could not be

convened, those opinions misconstrue the applicable law if,

as this Court has previously concluded, the guidelines are


       18
            Permitting the PSR to fulfill the notice function if the government chooses to
use it in this manner will also avoid the need for repeated superseding indictments in
cases where individual sentencing factors are developed as the case progresses. See, e.g.,
United States v. Green, 2004 WL 1381101 (D.Mass 2004) (Young, C.J.).

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severable after Blakely.     Hence, a sentencing jury should be

convened in this case to give Sanchez what he is asking for.

     Both Croxford and Shamblin rejected the government’s

suggestion that a sentencing jury be permitted to implement

a defendant’s Blakely rights.         In doing do, they concluded

that the absence of any express authority for such a jury

required that the government’s request be denied. See

Croxford, 324 F.Supp 2d. at 1242 (“As to the first

option--convening a sentencing jury--the court finds that

the statutes do not authorize such an approach”); Shamblin,

323 F.Supp 2d 757, 767 (D. W. Va 2004) (adopting Croxford

approach).

     These cases turn the applicable law on its head.

Because the correct test is whether there is any statue or

other legislative pronouncement that prohibits a sentencing

jury from being convened, the Croxford/Shamblin analysis on

this issue is flawed both in its reasoning and in its

result.

     This conclusion flows from the Court’s prior rulings

that the Guidelines are severable and from the fundamental

maxim of constitutional adjudication that requires this

court to construe 18 U.S.C. §3553(b) and other statues



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regarding sentencing procedures to be constitutional

wherever possible.             Under familiar principles of

constitutional adjudication, this Court is required to make

every effort to read the applicable statutes in harmony with

the Sixth Amendment: "every reasonable construction must be

resorted to in order to save a statute from

unconstitutionality."               Hooper v. California, 155 U.S. 648,

657 (1895).         See also Salinas v. United States, 522 U.S. 52,

59-60 (1997) (counseling courts to construe statutes to

avoid constitutional infirmity).                     Thus, "if an otherwise

acceptable construction of a statute would raise serious

constitutional problems, and where an alternative

interpretation of the statute is 'fairly possible,' [this

court is] obligated to construe the statute to avoid such

problems."        INS v. St. Cyr, 533 U.S. 289, 299-300 (2001)

(quoting Crowell v. Benson, 285 U.S. 22, 62 (1932)).

Accord, Veiga v. McGee, 26 F.3d 1206, 1212 (1st Cir. 1994)

("In the absence of clear legislative intent, we will not

adopt an interpretation of a statute that would render it

constitutionally suspect.").19


       19
           The party challenging a statute bears the burden of demonstrating its
unconstitutionality. Lujan v. G & G Fire Sprinklers, Inc., 532 U.S. 189, 198 (2001). All
acts of Congress are also presumed to be a constitutional exercise of legislative power
until the contrary is clearly established. E.g., Gibbs v. Babbitt, 214 F.3d 483, 504 (4th Cir.

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         The First Circuit has dealt with comparable issues in

passing on post-Apprendi efforts to remedy defects involving

drug weight by including drug weight allegations in

indictments.      United States v. Collazo-Aponte, 281 F.3d 320,

325 (1st Cir. 2002)(post-Apprendi, “all facts (other than

prior convictions) that set the maximum possible punishment

under § 841(b) must be established beyond a reasonable doubt

by the same body that determines culpability under §

841(a)”).      In response to Apprendi, indictments under the

controlled substances statutes routinely alleged drug

quantity to ensure compliance with both the Fifth and Sixth

Amendments.      In response, defendants argued that this

practice (i.e., giving defendants more process in order to

respect new constitutional rights) was unconstitutional

because nothing in Title 21 authorized including drug weight

allegations in indictments.

         These efforts to declare the drug statutes

unconstitutional in light of Apprendi consistently and

uniformly failed.      In Collazo-Aponte, 281 F.3d at 325, for

example, the First Circuit rejected exactly this argument

based on its determination that there was nothing in section




2000).

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841 that required all drug quantity determinations to be

made by the judge.    The court noted that section 841 “is

silent as to who makes [drug quantity] findings and under

what burden of persuasion.” Id.       Because the Court could

find nothing in section 841 that explicitly precluded the

procedural protections required by Apprendi, it concluded

that the Constitution now dictated that drug quantity

determinations that increase the statutory maximum must be

included in the indictment and proven to the jury beyond a

reasonable doubt and that this was permissible under the

statute.   Collazo-Aponte, 281 F.3d at 325 (“Apprendi simply

makes the jury the decisionmaker and the reasonable-doubt

standard the proper burden for facts that increase the

penalty beyond the applicable statutory maximum.”).         Every

other circuit that addressed this issue reached the same

result and thus concluded that such constitutional remedies

are proper so long as they do not conflict with the

governing statutes.     E.g., United States v. Candelario, 240

F.3d 1300, 1311 n. 16 (11th Cir.)cert. denied, 533 U.S. 922

(2001) (characterizing as "without merit" a facial challenge

to §§ 841 and 846 under Apprendi), ; United States v.

Slaughter, 238 F.3d 580, 582 (5th Cir. 2000), cert. denied,

532 U.S. 1045 (2001) ("[w]e see nothing in the Supreme Court


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decision in Apprendi that would permit us to conclude that

21 U.S.C. §§ 841(a) and (b), 846, and 860(a) are

unconstitutional on their face"),; United States v.

Cernobyl, 255 F.3d 1215, 1218-19 (10th Cir. 2001) (rejecting

an Apprendi-based facial challenge to § 841); United States

v. McAllister, 272 F.3d 228 (4th Cir. 2001) (same); United

States v. Kelly, 272 F.3d 622 (3rd Cir. 2001) (same); United

States v. Martinez, 253 F.3d 251, 256 n. 6 (6th Cir. 2001)

(same); United States v. Woods, 270 F.3d 728, 729-30 (8th

Cir. 2001) (same).    Just as these cases concluded that the

procedural protections required by Apprendi did not

invalidate section 841 because they were not contemplated by

Congress, this court must, based on its prior severability

analysis, conclude that sentencing juries are permissible in

future federal criminal cases to remedy any constitutional

issues raised by Blakely because sentencing juries are not

expressly prohibited.    See also Collazo-Aponte, 281 F.3d at

325   (“How statutes are ... implemented to fulfil

[Apprendi’s] requirement is a subject to which the

Constitution does not speak") (quoting Brough, 243 F.3d at

1079).

      To date, various post-Blakely decisions have recognized

sentencing juries as an appropriate and constitutionally


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valid procedure.    In United States v. Ameline, 376 F.3d 967,

983 (9th Cir. 2004), for example, the Ninth Circuit stated

that “should the government seek to obtain a higher sentence

for the offense of conviction, the district court [on

remand] may convene a sentencing jury to try the drug

quantity and firearm issues, which, if proven beyond a

reasonable doubt, may be used to increase Ameline's

sentence.” In United States v. Booker, 375 F.3d 508 (7th

Cir. 2004) the Seventh Circuit also remanded a Blakely

appeal for a potential hearing in which it noted that the

defendant would be entitled to a sentencing jury.         Id. at

513 (“There is no novelty in a separate jury trial with

regard to the sentence, just as there is no novelty in a

bifurcated jury trial, in which the jury first determines

liability and then, if and only if it finds liability,

determines damages.”). See also United States v. Green, 2004

WL 1381101,*37 (D.Mass 2004) (Young, C.J.)(suggesting that

sentencing juries might be feasible alternative to resolve

due process issues).    Because a sentencing jury can remedy

Sanchez’ complaints about the process he has been afforded

while also addressing the government’s interest in seeking

a sentence that properly reflects the severity and

persistence of both the fact of Sanchez’ crimes and the


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manner in which he committed them, a sentencing jury should

be convened if the Court concludes that Blakely is otherwise

applicable.

                            CONCLUSION

     This Court decides should reject Sanchez’ invitation to

indiscriminately extend Blakely in a piecemeal manner.          Any

determination by the Court that Blakely applies to the

Federal Sentencing Guidelines necessarily means that the

guidelines are invalid in their entirety as they apply to

this case. In their stead, the government requests that the

Court impose a sentence on Chepiel Sanchez within the

applicable 60-480 month range that it considers to be just

after taking due regard for the 210-262 month range the

Court previously concluded should apply.

     If the Court declines to revisit its prior

determination that Guidelines are applicable in this case

even if Blakely applies, then the same 210 month sentence

previously entered should be reimposed.       The fact that

Sanchez pled guilty to 10 separate drug charges requires

that consecutive sentences be used to implement the

mandatory provisions of U.S.S.G. §5G1.2(d) and demonstrate

that this is really not a Blakely case at all.




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     If the Court declines to apply section 5G1.2(d) in the

circumstances of this case, the government requests that it

convene a sentencing jury to give the defendant the process

he believes to be due or, in the alternative, that it

sentence the defendant to 115 months in jail, which the

government asserts is the correct “Blakely” statutory

maximum that would be applicable in this case.



                                            Respectfully submitted,

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